                 United States Court of Appeals
                               FIFTH CIRCUIT
                            OFFICE OF THE CLERK
LYLE W. CAYCE                                           TEL. 504-310-7700
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                                                             Suite 115
                                                    NEW ORLEANS, LA 70130

                           January 23, 2025

TO COUNSEL LISTED BELOW:
       No. 24-40160   State of Texas v. DHS
Dear Counsel:
The panel to whom the above referenced case was assigned has
determined under FRAP 34(a) that oral argument will not be required
in this case. Therefore, counsel need not appear for argument on
February 5, 2025.
The case will be decided in due course on the record and briefs on
file.
Please acknowledge receipt via email to your courtroom deputy,
Shirley_Engelhardt@ca5.uscourts.gov.


                                 Very truly yours,
                                 LYLE W. CAYCE, Clerk


                                 By: ________________
                                 Shirley M. Engelhardt
                                 Assistant Calendaring Clerk
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